 Case 2:20-cv-11625-JFW-AFM Document 1 Filed 12/17/20 Page 1 of 13 Page ID #:1


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 1 Aaron Echols Sr.                                                                     DEC 17.2020
   P.O. Box 34196                                  . PAID
 2 Los Angeles, CA 90034                                                            CETVTRAI.DISI'RICt OF CALIFORNIA

   Tel: 310-339-9059                                                                    HY•     ~         DEP[T1Y

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   Petitioner in Pro Per                          ~;2~~
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                             CENTRAL DISTRICT OF CALIFO1tNIA
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                                                                                          JFW
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     AARON ECHOES SR,                                   CASE NO.: 2.20-CV-11625~AF1VIg
10
                                         Petitioner, PETITION FOR WRIT OF
11
                                                     MANDAMUS
12   Vs.
                                                       Pursuant to Fed. Rule 28 U.S.C. 1361 and
13 LOS ANGELES COUNTY CHII.,D                          Fed. Rule 28 U.S.C. 1391(e)
14 SUPPORT SERVICES,                                     "
   And does 1 through 10
15                                                     DATE:December 14,2020
16                                     Respondent.
17
           Petitioner hereby asks the court to issue a Writ of Mandate to vacate the default
18
     judgment or in alternative quash service ofsummons against Petitioner, because the County of
19
     Los Angeles had no jurisdiction over Petitioner for reasons and on grounds as more fully set
20
     forth herein below.
21
                                                              Respectfully submitted,
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24 Dated: December 14,2020                                  By:                         ~
25                                                                 Aaron Ec ols
                                                                Petitioner In Pro Per
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                                     Petition for Writ ofMandamus                                                      I
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  1                                 MEMORANDUM POINTS AND AUTHORITIES
                                                     INTRODUCTION
 3                In or about November 24, 1998, the County of Los Angeles entered a default judgmEn~
 4         against the Petitioner stating that the Petitioner fail to appear for a child support hearing.
 5                In or about February 19, 1999, Petitioner was served a copy of the default against him a'~
 6         his job. Within the time allotted to reply, the Petitioner filed a motion to set aside the default dui
 7         to the Petitioner had never been given notice of any hearing regarding child support or any other.
 8         matter. Even after showing the court a copy of the proof of service that was on file with Child
 9         Support, and showing that the summons was served at an address the Petitioner didn't reside at
10         nor had every lived; alone with the fact that the summon was served an an unknown fe~riale.
11                Even after proving to the court that I was never served the court still denied Pehitioner
1 ~?       motion to set aside the defaultjudgment.
13
14 ~ //

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17 ~'                                                  ARGUMENT
18                                            Federal Question Jurisdiction
       I
19                The district courts shall have original jurisdiction of any action in the nature of mandamus
2U         to compel an officer or employee ~f the United States or any- agency thereof to perform a du:y
21         owed to the plaintiff. Feat Rule 28 U.S.C. 1361.
?2
23                                                         Venue
2~                A civil action in which a defendant is an officer or employee ofthe United States or any
25         agency thereof acting in his official capacity or under color oflegal authority,(2)where the
26         plaintiff resides if no real property is involved in the action. Fed Rule 28 U.S.C. 1391(e).
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28


                                               Petition for Writ of Mandamus
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 1       The Judgment against Plaintiff is Voided.Due to The Court Lacked Jurisdiction to Enter
 2                                                  Judgment
 3          When a court enters a judgment when it doesn't or didn't have the jurisdiction or authorit~~
 4   to do so, it is a void judgment. A void judgment is one which from its inception was a complete
 5   nullity and without any legal effect. Lubben v Selective'Service System Local Bd. 1Vo. 2 7, 453
 6   F.2d 645, 14 A.L.R. Fed. 298 (C.A. 1 Mass 1972). The lower court in this matter entered a
 7   judgment against the Plaintiff when the court never established personal jurisdiction. The County'
 8   of Los Angeles and the other party "Clarinda Hampton" served court documents to an address
 9   where the plaintiff never lived and to a person the Plaintiff doesn't know nor has ever met. The
10   summons and Complaint was served on an unknown person by the name of Sandra Jackson.(See
11   Exhibit"A"Proof of Service). The Respondent will try acid state that this matter has- been heard
12   and the Plaintiff can't re-litigate the issue. Res judicata consequences will not be applied to a
13   void judgment which is one which from its inception is a complete nullity and without legal
14   effect, Allcock v Allcoek 437N.E. 2d 392(Ill. App.3Dist. 1982).
15          Personal jurisdiction refers to the court's adjudicatory authority to exercise its power over
1G   the person subject to suit. Specific jurisdiction refers to the situation when the suit "aris[es] out of
17   or relates] to the defendant's contact (in this case the plaintiff with the forum." Daimler AG is
18   Bauman, 134 S.Ct. 746, 754 (2014) (puotin,~ Helicopteros Nacionales de Colombia. S.A. v
19   Hall, 466 U.S. 408, 414 n.8 (1994)). The court never establishes personal jurisdiction due to the
20   Plaintiff was never served.
21          Three to four months after default judgment was entered, the Plaintiff was served with the
22 judgment at his job "Los Angeles Police department."         A ~notior~ to set aside the default
23   judgment was filed and a hearing was given. At the hearing, the Plaintiff stated he wasn't served
24   and had no knowledge of the matter until he was served with the judgment. The Plaintiff argued
25   that he never lived at the address that the summons was delivered to, nor did he know the person
2G   that was served.
27          Method of service pursuant to California Code of Civil Procedure §415.1 Q "Fersonal
28   Service", "Substitute Service California Code of Civil Procedure §415.20(a) or Mailing Service


                                         Petition for Writ of Mandamus
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 1   CCP §415.30. The process server made only one attempt and served the first person he or she
 2   came in contact with. As demonstrated in the accompanying Declaration signed by Mr. Phillip C.
 3   Frazier, Mr. Frazier confirmed that he lived at the address in question at the time of service. Mr.
 4   Frazier also confirmed that, at the time he lived at 1414 S. Orange Grove Avenue in apt#1, no one
 5   by that name visited nor resided at his address. As will as stating that no summons and complaint
 6   was ever delivered to his address for the Petitioner either by personal service or first class mail.
 7 (See Exhibit"B" Declaration of Phillip Frazier).

 8          At the time of the motion to set aside the default judgment, the Petitioner was a Police
 9   Officer with. the I,os Angeles Police. Petitioner provide to the court paycheck stubs and other
10   official documents to prove that he lived on 201 Nest 99t" Street in Los Angeles with his wife and
11   never resided at the address listed on the proofofservice.
12          In California, the rule of court ensure parties are entitled to fundamental fairness. Cal.
13   Code Civil Procedure X580. This includes giving defendants adequate notice of the action, any
14   default judgment that results is voidable. Grappo a McMills, (201.7) Il Cal.Avp.Sth 996. While
15   lack of notice renders a default judgment voidable, other instances where a default judgment is
16   void. Unlike voidable judgments, a void judgment may be set aside at any time. A judgment is
17   void when the court does not have the authority to issue the judgment. In other words, where tl~.e
18   court does not have the proper jurisdiction, a default judgment is void. See Dhawan v Birin~,
19 (201S)241 Cal.Anp.4`'` 963.
2U          The Court must have both subject-matter jurisdiction as well as personal jurisdiction i~z
21   order to enter a judgment.
22          Under Federal law which as applicable fo all states, the U.S. Supreme Court stated
23   that if a court is "without authority, its judgments and orders are regarded as nullities. They are
z4 not voidable, but simply void; and dorm no bar to a recovery sought, even prior to a reversal
25   in opposition to them. They constitute no justification; and all persons concerned in executing
76   such judgments or sentences, are consid:,red, in law, as trespassers.
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                                       Petition for Writ of Mandamus
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 1                       Default Should Be Dismissed Pursuant to Rule 12(b)(2)
 G                                   Federal.Rule of Civil Procedures
 3          Dismissal for lack of personal jurisdiction under Rule 12(b)(2) is a dismissal without
 4   prejudice, not with prejudice, because it is not a judgment on the merits. Guidrv,188 F.3d at 623
 5   n.2. Personal jurisdiction is an essential element ofthe jurisdiction ofa court, without which the
 6   court is powerless to proceed to an adjudication. Ruhr~as AG v Marathon Oil Co., 526 U.S.
 7   574, 584(1999). A court must have both subject-matter and personal jurisdiction before
 s determining the validity ofa claim. Moran v. Kingdom ofSaudi Arabia,27F.3d 169,172(S`h
9    Cir. 1994 . In this case, neither meihod under California Code of Civil Procedure §41 .10
10 "personal service", ~415.20(a)"Substitute Service", nor ~~ 15.30 "Mailing Service" was ever

11   completed due to summons and complaint was given to unknown person and if mailed; would
12   have been to the same address to the same unknown person.
13          A void judgment may be attacked at any time by a person whose rights are affected. See
14   El-Kareh v Texas Alcoholic Beverage Comm'n,874 S W 2d 192,194(Tex App Houston
15   /14th Dist.]1994, no writ); see also Evans v. C. Woods,Inc., No. 12-99-00153-CV,1999 WL
1G   787399, at *1 (Te.~ App.—Tyler Aug 30,1999, no pet.~ h.).
17          The 14th amendment ofthe United States Constitution gives everyone a right to due
1~   process of law, which includes judgments that comply with the rules and case law. Most due
19   process exceptions deal with the issue of notification. If, for example, someone gets a
?p   judgement against you in another state without your having been notified, you can attack the
21   judgement for lack of due process oflaw. Grffen v Griffen, 327 U.S. 220, 66 S. Ct. 556, 9Q
22   L.Ed. 635. The Fourteenth Amendment states:"No state shall make or enforce any Iaw which
?3   shall abridge the privileges or immunities of citizens ofthe United States; nor shall any state
24   deprive any person of life, liberty, or property, without due process oflaw; nor deny to any
25   person within its jurisdiction the equal protection ofthe laws." U.S. Const. amend. XIV.
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                                       Petition for Writ of Mandamus
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 1                  A Party Affected by VOID Judicial Action Need Not APPEAL.
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             The Child Support Service will argue that the Plaintiff didn't originally appeal the court
 3
     the decision after attempting to have the default set aside by the lower Court.
 4          State ex red Laity, 907S.W.2d at 486. It is entitled to no respect whatsoever because it
 5   does not affect, impair, or create legal rights." Ex parte Spaulding,687 S.W.2d at 745'(Teague,
 ~   J.,concurring). If an appeal is taken, however, the appellate court may declare void any
 ~   orders the trial court signed after it lost plenary power over the case, because a void
 g   _judgment is a nullity from the beginning and is attended by none of the consequences of a
 ~   valid iud~ment.
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                                    Why The Writ Should Be Granted
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13          In light ofthe above, a court cannot confer jurisdiction where none existed and cannot
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     make a void proceeding valid. A void judgment which includes judgment entered by a court
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     ~,~,hich lacks jurisdiction over the parties or the subject matter, or lacks inherent power to enter
1G   the particular judgment, or an order procured by fraud, can be attacked at any time, in any
1?   court, either directly or collaterally, provided that the party is properly before the court. Long
18   v. Shorebank Development Corp., 182 F.3d 548(C.A. 7 Ill. 1999). The lower court refused
19   to address the issue even after documentation presented to show lack ofjurisdiction, whereby
20 the court had no authority to entertain the matter. When rule providing for relief from void
21 judgments is applicable, relief is not a discretionary matter, but is mandatory, Omer. Y.
22 Shalala,30 F.3d 1307(Cob. 1994). The Plaintiff was never given the opportunity to defend
23   himself whereby the California Code Civil Procedure grants him the rights and privileges to do
24   so.
25           THEREFORE,The Plaintiff respectfully request that this Honorable Court grant his
~~   Writ of Mandamus to set aside the Default Judgment or in alternative Quash Service of
27   Summons and Complaint(Superior Court of Los Angeles case# BY347481).
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4                                                      Respectfully submitted,
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8 ~ Dated: December 14, 2020                       I~
                                                             Aaron Echols Sr
9                                                        Petitioner In Pro Per
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                                  Petition for Writ of Mandamus
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       Case 2:20-cv-11625-JFW-AFM Document 1 Filed 12/17/20 Page 9 of 13 Page ID #:9

                         ~~
                          _J
GIL GARCBTTI                                    626-858-2505            ~ILE~~
LOS AAKsBLBS COUNTY DISTRICT ATTORNBY
2934 S. GARVBY AVS 3RD FL. DIVISION 3
f~TSST COVINA CA 91791                          3-79909              ~                       It~--
A'I'PORNBY FOR (Name)                                                       NQV 181
LOS ANGSLBS SUPERIOR CT        CENTRAL CIVIL WEST                          ~~       ~.- ~
600 S. CONIIKONWBALTfi AVS.    LOS ANGBLSS. CA 90005                             ~`~ ~~~~~

  COLA V. AARON R. ECHOES                                              ~    ~    ~ ~~
                                                                                 ~~
                154182                                                      BY347481

                               PROOF OF SERVICE

 1.   AT THS TIME OF SERVICE I WAS AT LEAST 18 YSP,RS OF AGE AND NOT A PARTY
      TO THIS ACTION, AND I SERVED COPIES OF THE:

      SUl~IONS & COMPLAINT, (PROPOSED) .7iJDGMBNT, BLANK ANSWER, FINANCIAL
      SZ1~II~1T. & MSDICAI, INS. FORMS, CALIFORNIA CHILD SUPPORT HANDBOOK

 2.   PARTY SERVED: AARON KEITH ECHOES

      ADDRESS: ON RECORD AT THB DISTRICT ATTORNEY'S OFFICE.
               ADDRESS MAY B8 RELEASED ONLY UPON AN ORDER FROM TFiB CJUF2T
               PURSUANT TO WBLFARS & IDTSTITUTIONS CODfi 11478.1 1c; !6' .

 3.   I SBRVBD THB PARTY NAMBD IN ITBM 2
      BY LEAVING THS COPIES WITH OR IN THB PR£SBNCS OF:
      SANDRA JACUSON                                         CO - TfiNAI+TT
      (HOMB) A COMPETENT   MBMlBBR OF THg HOUSEHOLD AT LEAST 18 YEARS OP A,GE
      AT THB DiiiSLLING HbUSB OR USUAL PLACE OF ABODH OF THfi PnRSON SfiRVBD_
      I INFORMED HIM OR H8R OF THB GENBR.AL NATURE OF THB PAPERS.
      ON:   09/26/98             AT: 8:53 AM

 4.  A DBCLARATIQN OF DILIGENCE IS ATTACHED
      (A) BY MAILING THS COPIBS TO THS PBRSON SERVED, ADDRBSSED AS SHObirT SN
      ITEM 2, BY FIRST-CLASS MAIL, POSTAGE PREPAID
      ON: 09/27/98                 FROM: LOS ANGBLBS, CA
 TH8 "NOTICE TO THB PERSON SERVED" ON THB S[JNII~IONS WAS COMPLETED AS FOLLOWS:
             AS AN INDIVID[TAL DEPENDANT. (CCP 415.20)

      5.   PERSON S$RVING      JBSSB W. SINIIrIONS              FEfi FOR SERVICE:               14.00

 I D$CLARS UND$R PENALTY OF PERJURY THE FOREGOING IS TRUE AA1D CJRREC'~'.
 CONFORMS WITH JUDICIAL COUNCIL FORM #982 (A) (23)

 BXSCUTSD ON: 09/27/98


SPECIALIZED LITIGATION SERVICES                            ~,~~.r~ ~,wti;,,,~,,~-1,~,
P.O. BOX 39607                                           $~IPLOYEE
LOS AN~GBLBS CA 90039                                IND. CONTRACTOR
(213)668-0088                                            1031
LOS ANGSLgS COUNTY X1031                                 LOS ANGELfiS
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                        DECLARATION OF PHILLIP C. FRAZIER II


    I Phillip C. Frazier II, am not a party to this case, and if called as a witness, I could

    competently testify as follows:



        1. I am now and at the time in question was over the age of 18.

       2. I lived at 1414 S. Orange Grove Avenue, apt #1 from about February 1996 to

            January 2004.

       3. At no period while I lived at 1414 S. Orange Grove Avenue, in apt #1 did I know

            a person by the name of Sandra Jackson nor did any person by that name reside or

            visit my address.

       4. Doing the months presented to me, which is between June -September of]998, I

            do not recall any person. deliver any Summon and Complaint for Aaron Echols;

            nor did I receive any mail for Aaron Echols at my address.

       5. The court can verify my address at the time through public or DMV records.



    I declare under penalty of perjury under the laws ofthe State of California, that foregoing

    information is true and correct to the hest of my knowledge.



    Date: Nov. 14, 2019                                                            ~.~~~"
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